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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )                   8:06CR71
                                               )
MARIO VALENZUELA-CENTENO,                      )        ORDER CONTINUING TRIAL
ROSARIO RAMIREZ-MORENO and                     )
JESSICA MARTINEZ,                              )
                                               )
                     Defendants.               )


      This matter is before the court on the Motion to Continue Trial [80] filed by
defendant, Rosario Ramirez-Moreno. For good cause shown, the court finds that the
motion should be granted.

       IT IS ORDERED that defendant's Motion to Continue [80] is granted, as follows:

       1. The trial of this matter is continued from October 17, 2006 to November 7, 2006
before Judge Laurie Smith Camp and a jury.

       2. In accordance with 18 U.S.C. § 3161(h)(A), I find that the ends of justice will be
served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between October 17, 2006 and November 7, 2006, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act, 18 U.S.C.
§ 3161 due to counsel's scheduling conflict. Failure to grant a continuance would
unreasonably deny the defendant continuity of counsel, be likely to make a continuation
of such proceeding impossible, and/or result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

       3. Defendant, Rosario Ramirez-Moreno shall file a waiver of speedy trial as
required by NECrimR 12.1 on or before October 2, 2006.

       DATED September 21, 2006.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
